                         Case 9:18-bk-10509-FMD            Doc 26      Filed 05/16/19      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                05/16/2019 09:30 AM
                                                                COURTROOM Room 4-102
HONORABLE CARYL DELANO
CASE NUMBER:                                                    FILING DATE:
9:18-bk-10509-FMD                        7                        12/07/2018
Chapter 7
DEBTOR:                Patricia Houck


DEBTOR ATTY:           David Lampley
TRUSTEE:               Robert Tardif
HEARING:
Motion to Sell Property Free and Clear of Liens. Property description: 20850 Hammock Greens Lane &#035; 104, Estero, Florida,
                       a Condominium Unit, to Richard and Mary Beth Pultz, Their Assigns/Designees, for &#036;220,400.00. .
                       (Verify Fee) Filed by Trustee Robert E Tardif Jr.. (Tardif, Robert) Doc #25

APPEARANCES:: David Lampley, Bob Tardif, Ben Lambers

WITNESSES:

EVIDENCE:

RULING:
Motion to Sell Property Free and Clear of Liens. Property description: 20850 Hammock Greens Lane &#035; 104, Estero, Florida,
a Condominium Unit, to Richard and Mary Beth Pultz, Their Assigns/Designees, for &#036;220,400.00. . (Verify Fee) Filed by
Trustee Robert E Tardif Jr.. (Tardif, Robert) Doc #25 - Granted with lien holders consent, carve out for estate O/Tardif
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




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